 Case 1:18-cv-01581-RPM Document 1 Filed 06/25/18 USDC Colorado Page 1 of 9




           VICKI LANDIS, Plaintiff, v. PUEBLO CITY SCHOOLS, Defendant

                                CLAIM #   18-1581

           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO

                              (Statement of Claims)

                                  May 25,2018

                                   Complaint


COUNSEL: Morton Law Office, P.A.
Tarishawn Morton
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Denver, Colorado 80209
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COUNSEL FOR PLAINTIFF.

DEFENDANT: EEO/Affirmative Action/Title IX/Section 504 Compliance Officer
315 West 11th Street
Pueblo, Colorado 81003
PHONE:(719) 549-7100, EMAIL: (unknown)

JUDGES: (TBD)

TITLE: COMPLAINT, STATEMENT OF CLAIMS AND DEMAND FOR JURY TRIAL

TEXT: Plaintiff Vicki Landis ("Plaintiff" or "Ms. Landis"), by and through her
undersigned counsel, Morton Law Office, P.A., as and for her complaint in this
action against Pueblo City Schools ("Defendant" or "the District"), hereby
alleges as follows:
   NATURE OF THE CLAIMS
   1. This is an action for declaratory, injunctive and equitable relief, as
well as monetary damages, to redress Defendant's unlawful employment practices
and retaliation against Plaintiff, including Defendant's unlawful
discrimination, harassment and retaliation against Plaintiff because of her
race/color, national origin and age, in violation of Section 1981 of the Civil
Rights Act of 1866, 42 U.S.C. § 1981 ("Section 1981"); and Title VII of the
Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq. ("Title [*2]
VII")and Age Discrimination in Employment Act, as amended, 29 U.S.C. §§ 621, et
seq. (employment discrimination on the basis of age).
   2. Over the course of Plaintiff's nearly eleven-year employment history with
the District, Defendant repeatedly subjected Plaintiff to unlawful
discrimination because of her race/color, national origin, and age, as well as
to unlawful retaliation. The blatantly hostile work environment at the District
includes the frequent use by Plaintiff's co-workers and direct supervisors to
prevent advancement, refusal to intervene in hostile matters (where requested
and/or appropriate), undermining her authority, interference with her ability to
perform her job requirements, etc..Plaintiff has repeatedly complained about
this and, other discriminatory and harassing misconduct, to the District. In
 Case 1:18-cv-01581-RPM Document 1 Filed 06/25/18 USDC Colorado Page 2 of 9




return she has be subjected to unlawful retaliation designed to constructively
discharge her.
   3. Defendant's conduct was knowing, malicious, willful and wanton and/or
showed a reckless disregard for Plaintiff, which has caused and continues to
cause Plaintiff to suffer substantial economic and non-economic damages,
permanent harm to her professional and personal reputation, and severe mental
anguish and emotional distress.
   JURISDICTION AND VENUE
   4. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331
and 1343, as this action involves federal questions regarding the deprivation of
Plaintiff's civil rights under Title VII and Section 1981. The Court has
supplemental jurisdiction over Plaintiff's related claims arising under state
and local law pursuant to 28 U.S.C. § 1367(a).
   5. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a
substantial part of the events or omissions giving rise to this action,
including the unlawful employment practices alleged herein, occurred in this
district.
   PARTIES
   6. Plaintiff, Vicki Landis, is a Hispanic woman. From in or around September
2006 to the present (with a short lapse in 2014/2015). Ms. Landis has been
employed with Pueblo City Schools in Pueblo, Colorado. At all relevant times,
Ms. Landis met the definition of an “employee” under all applicable statutes.
   7. Defendant is a school district authorized to conduct business in the State
of Colorado with its principle executive office located at 315 West 11th Street,
Pueblo, Colorado, 81003. At all relevant times, Defendant owned, operated and
maintained the Pueblo City Schools. At all relevant times, Defendant met the
definition of an "employer" under all applicable statutes.
   PROCEDURAL REQUIREMENTS
   8. Plaintiff has complied with all statutory prerequisites to filing this
action.
   9. On or about February 28, 2018, Ms. Landis filed a Verified Complaint (“the
complaint”) with the United States Equal Employment Opportunity Commission (the
“EEOC”) charging the Defendant with unlawful discriminatory employment practices
because of her age, national origin, race/color and retaliation. On March 29,
2018, the EEOC rendered a determination.
   10. On March 29, 2018, the EEOC issued Ms. Landis a notice of right to bring
suit in federal district court based on the allegations of unlawful
discrimination on the basis of age, race/color and national origin set forth in
the February 28, 2018 Complaint.
   11. On March 29, 2018, the EEOC issued Ms. Landis a notice of right to bring
suit in federal district court based on the allegations of unlawful retaliation
set forth in the February 28, 2018 complaint.
   12. This action has been filed within 90 days of Plaintiff's receipt of her
right-to-sue letters from the EEOC.
   13. Prior to the commencement of this action, a copy of this Complaint was
served on the Defendant, thereby satisfying the notice requirements of § AO 398
(Rev. 01/09) of the Colorado Administrative Code.
   14. Any and all other prerequisites to the filing of this suit have been met.
 Case 1:18-cv-01581-RPM Document 1 Filed 06/25/18 USDC Colorado Page 3 of 9




FACTUAL ALLEGATIONS
   I. Background
   15. Vicki Landis is a hard-working 49-year-old Hispanic woman who has worked
as an ESS teacher, Assistant Principal/Administrator and ESS Specialist for
nearly a decade, regularly working six or seven days per week and outside of
normal business hours to support her family. Ms. Landis holds both a bachelor’s
and master’s degree in Education (with an emphasis in Education), a Principal’s
license and, 140+ hours toward her PhD. She is a conscientious and reliable
employee who at all times performs her duties in an exemplary manner and
generally gets along well with her colleagues and supervisors. Ms. Landis’ role,
at Pueblo City Schools, often puts her in circumstances where, she must (by law)
advocate for students with special needs. This places her in conflict with other
Pueblo City School leaders periodically and, is likely part of the hostility she
experiences. Until she started working at Pueblo City Schools, Ms. Landis was in
good health mentally, physically and emotionally.
   16. Ms. Landis began working at Pueblo City Schools on September, 2006 when
she accepted a position as an ESS Teacher. She currently works as a ESS
Specialist for the District.
   17. As set forth in greater detail below, throughout her employment with the
District, Ms. Landis has been subjected to a shocking barrage of discrimination
based on her age, race/color and national origin. Despite Ms. Landis’ many
written complaints and pleas for the District to bring an end to the
discriminatory conduct committed against her, by her supervisors, subordinates
and co-workers, the district has turned a blind eye to her increasingly
desperate plight.


   II. Discrimination on the Basis of Race/Color and National Origin
   18. Throughout her employment for the District, Ms. Landis has been singled
out by other employees and managers for the District – including her direct
supervisors – who have subjected her to a constant barrage of discrimination,
threats and intimidation because she is Hispanic.
   19. For example, white men and women, with lesser experience, training,
skills and/or education than Ms. Landis, have been given numerous advancements
and/or newly hired. Her past and recent attempts at advancement have resulted in
immediate denial, while largely underqualified white women have been
promoted/hired.
   20. When the District failed to investigate and did not attempt to prevent
other employees from engaging in similar unlawful discriminatory conduct, more
white applicants have been promoted or hired in her place.
   21. In addition to enduring discriminatory acts, Ms. Landis’ supervisors have
permitted white men and women, who are equal to her in position and/or her under
her supervision to undermine her authority, disrespect her and be aggressive
toward her.
   22. Ms. Landis has also been subjected   to intimidation from white supervisors
who work in a concerted effort to prevent   her from making complaints, protecting
the students she serves and/or advocating   for student’s rights. Other non-white
staff have joined in this effort and work   to prevent her rightful advancement.
   23. When Ms. Landis has unable to obtain relief, despite her repeated
complaints (verbal and written), through her immediate supervisor, who had
spoken with the Director of Human Resources (Eric DeCesaro). To date these
 Case 1:18-cv-01581-RPM Document 1 Filed 06/25/18 USDC Colorado Page 4 of 9




complaints have been met with dismissive comments, failure to investigate and,
continued (at in some instances increased) hostile behavior. No employee has
been subject to meaningful discipline in connection to her mistreatment. This is
in stark contrast to the response to white staff complaints.
   24. Ms. Landis has also experience instances where she enters into a
training, full of predominately white staff, and has been ousted, publicly
humiliated and reprimanded. This, although she, like the white staff, was an
invitee.
   24. After realizing that the District would not intervene on her behalf, Ms.
Landis was forced to seek training, mentorship, employments, etc.. outside of
the District. This was at her expense.
   25. The District's failure to investigate and take prompt remedial action in
response to these and other complaints by Ms. Landis was in violation of its own
written employment policies.
   26. The District’s failure to provide an equal opportunity, for advancement,
to all race, colors and nationalities is also a violation of its own written
employment policies and Federal Law.


   III. Discrimination on the Basis of Age
   27. Ms. Landis is now 49 years of age.
   28. The District has repeatedly chosen younger(and typically less qualified)
candidates, for roles Ms. Landis is qualified and licensed for, year-after-year.
For example, this upcoming school year (2018/2019) only candidates younger than
Vicki were hired; Vicki was not given the opportunity to even interview beyond
the preliminary stages.
   29. The District's failure to investigate and take prompt remedial action in
response to these and other complaints by Ms. Landis was in violation of its own
written employment policies.
   30. The District’s failure to provide an equal opportunity, for advancement,
to all ages is also a violation of its own written employment policies and
Federal Law.


   IV. Unlawful Retaliation Committed Against Ms. Landis
   31. After her repeated complaints to her supervisors, Human Resources and the
Assistant Superintendent failed to stop the discriminatory conduct, Ms. Landis
enlisted the assistance of the EEOC, and filed a complaint asserting claims of
discrimination on the basis of age, race/color and nationality. Despite Ms.
Landis’ initiation of formal legal proceeding, the District has not conducted a
serious investigation into her claims or taken appropriate disciplinary action
against the District employees and supervisors who have continued to
discriminate against Ms. Landis.
   32. Moreover, the District unlawfully retaliated against Ms. Landis for
filing her complaint. By way of example only, Ms. Landis direct supervisors have
made threats to give her poor evaluations, reprimanded her, forced her to work
in a separate location from her teammates (isolating her), refused to allow her
required training, permitted unsupported formal Union action against her, and
denied all attempts at professional advancement. The District has provided no
reasonable explanation for its in/action.
 Case 1:18-cv-01581-RPM Document 1 Filed 06/25/18 USDC Colorado Page 5 of 9




   33. Additional acts of discrimination and harassment were committed against
Ms. Landis as part of the District’s campaign of unlawful retaliation.


   FIRST CAUSE OF ACTION
   (Discrimination in Violation of Section 1981)
   34. Plaintiff hereby repeats and realleges each and every allegation in
paragraphs 1 through 33, inclusive, as if fully set forth herein.
   35. Defendant has discriminated against Plaintiff on the basis of her
race/color (Hispanic) in violation of Section 1981 by denying her the same terms
and conditions of employment available to employees who are not Hispanic,
including but not limited to, subjecting her to disparate working conditions and
denying her the opportunity to work in an employment setting free of a
unlawfully hostile workplace.
   36. Defendant has discriminated against Plaintiff on the basis of her
race/color in violation of Section 1981 by creating, fostering, accepting,
ratifying and/or otherwise failing to prevent or to remedy a hostile work
environment that included, among other things, severe and pervasive
embarrassment of the Plaintiff because of her race/color.
   37. As a direct and proximate result of Defendant's unlawful and
discriminatory conduct in violation of Section 1981, Plaintiff has suffered and
continues to suffer severe mental anguish and emotional distress, including but
not limited to depression, humiliation, embarrassment, stress and anxiety, loss
of self-esteem and self-confidence, emotional pain and suffering, as well as
sleeplessness, for which she is entitled to an award of monetary damages and
other relief.
   SECOND CAUSE OF ACTION
   (Retaliation in Violation of Section 1981)
   38. Plaintiff hereby repeats and realleges each and every allegation in
paragraphs 1 through 33, inclusive, as if fully set forth herein.
   39. Defendant has retaliated against Plaintiff in violation of Section 1981
for opposing and/or complaining of Defendant's discriminatory practices against
herself and students under her care by, inter alia, subjecting Plaintiff to acts
of discrimination, transferring Plaintiff to locations away from her team,
disregarding her complaints and refusing her opportunities for advancement (to
include training necessary to for promotion, although other, less qualified
staff have been provided said training and, immediately denying applications for
supervisory roles).
   40. As a direct and proximate result of Defendant's unlawful and retaliatory
conduct in violation of Section 1981, Plaintiff has suffered and continue to
suffer severe mental anguish and emotional distress, including but not limited
to depression, humiliation, embarrassment, stress and anxiety, loss of self-
esteem and self-confidence, emotional pain and suffering, as well as physical
sleeplessness, for which she is entitled to an award of monetary damages and
other relief.
   THIRD CAUSE OF ACTION
   (Discrimination and Harassment in Violation of Title VII)
   41. Plaintiff hereby repeats and realleges each and every allegation in
paragraphs 1 through 33, inclusive, as if fully set forth herein.
 Case 1:18-cv-01581-RPM Document 1 Filed 06/25/18 USDC Colorado Page 6 of 9




   42. Defendant has discriminated against Plaintiff on the basis of her
race/color (Hispanic) and/or national origin (Mexican-American) in violation of
Title VII by denying her the same terms and conditions of employment available
to employees who are not Hispanic and/or Mexican-American, including but not
limited to, subjecting her to disparate working conditions and denying her the
opportunity to work in an employment setting free of unlawful harassment.
   43. Defendant has discriminated against Plaintiff on the basis of her
race/color and/or national origin in violation of Title VII by creating,
fostering, accepting, ratifying and/or otherwise failing to prevent or to remedy
a hostile work environment that included, among other things, severe and
pervasive embarrassment of the Plaintiff because of her race/color.
   FOURTH CAUSE OF ACTION
   (Age Discrimination in Violation of Title VII)
   44. Plaintiff hereby repeats and realleges each and every allegation in
paragraphs 1 through 33, inclusive, as if fully set forth herein.
   45. Defendant has discriminated against Plaintiff on the basis of her age
(49) in violation of Title VII by denying her the same terms and conditions of
employment available to employees who are younger than her, including but not
limited to, denying her applications for promotion, refusing to consider her
although she is a more qualified candidate, etc...
   46. Defendant has discriminated against Plaintiff on the basis of her age in
violation of Title VII by creating, fostering, accepting, ratifying and/or
otherwise failing to prevent or to remedy the pattern of hiring/promoting
younger, less qualified, candidates.
   47. As a direct and proximate result of Defendant's unlawful and
discriminatory conduct in violation of Title VII, Plaintiff has suffered and
continues to suffer severe mental anguish and emotional distress, including but
not limited to depression, humiliation, embarrassment, stress and anxiety, loss
of self-esteem and self-confidence, emotional pain and suffering, as well as
sleeplessness, for which she is entitled to an award of monetary damages and
other relief.
   FIFTH CAUSE OF ACTION
   (Age Discrimination in Violation of “Age Discrimination in Employment Act”)
   48. Plaintiff hereby repeats and realleges each and every allegation in
paragraphs 1 through 33, inclusive, as if fully set forth herein.
   49. Defendant has discriminated against Plaintiff on the basis of her age
(49) in violation of Title VII by denying her the same terms and conditions of
employment available to employees who are younger than her, including but not
limited to, denying her applications for promotion, refusing to consider her
although she is a more qualified candidate, etc...
   50. Defendant has discriminated against Plaintiff on the basis of her age in
violation of Title VII by creating, fostering, accepting, ratifying and/or
otherwise failing to prevent or to remedy the pattern of hiring/promoting
younger, less qualified, candidates.
   51. As a direct and proximate result of Defendant's unlawful and
discriminatory conduct in violation of Title VII, Plaintiff has suffered and
continues to suffer severe mental anguish and emotional distress, including but
not limited to depression, humiliation, embarrassment, stress and anxiety, loss
of self-esteem and self-confidence, emotional pain and suffering, as well as
 Case 1:18-cv-01581-RPM Document 1 Filed 06/25/18 USDC Colorado Page 7 of 9




sleeplessness, for which she is entitled to an award of monetary damages and
other relief.
    SIXTH CAUSE OF ACTION
   (Retaliation in Violation of Title VII)
   52. Plaintiff hereby repeats and realleges each and every allegation in
paragraphs 1 through 33, inclusive, as if fully set forth herein.
   53. Defendant has discriminated against Plaintiff on the basis of her
race/color (Hispanic)and age in violation of Title VII by denying her the same
terms and conditions of employment available to employees who are not Hispanic,
including but not limited to, subjecting her to disparate working conditions and
denying her the opportunity to advance, to work in an employment setting free of
unlawfully hostile workplace.
   54. Defendant has discriminated against Plaintiff on the basis of her
race/color, national origin and age in violation of Title VII. Where Ms. Landis
has placed complaints, advocated for students, asked for assistance, she has
been met with retaliation. Retaliation included, but is not limited to,
separating her from her team, denying her advancement, refusing to support her
in her current role, undermining her authority, isolation her from her team,
etc.…
   55. As a direct and proximate result of Defendant's unlawful and retaliation
in violation of Title VII, Plaintiff has suffered and continues to suffer severe
mental anguish and emotional distress, including but not limited to depression,
humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-
confidence, emotional pain and suffering, as well as sleeplessness, for which
she is entitled to an award of monetary damages and other relief.


   SEVENTH CAUSE OF ACTION
   (Negligent Hiring, Retention and Supervision)
   56. Plaintiff hereby repeats and realleges each and every allegation in
paragraphs 1 through 33, inclusive, as if fully set forth herein.
   57. Defendant has violated its duty as Plaintiff's employer to provide a safe
workplace, to take reasonable steps to determine the fitness of Plaintiff's co-
workers and supervisors and to reasonably supervise Plaintiff's co-workers and
supervisors by, inter alia, failing and refusing to investigate and/or take
appropriate disciplinary or other action in response to Plaintiff's repeated
verbal and written complaints of discriminatory and harassing conduct by her co-
workers and/or supervisors on the basis of her age, race/color, and national
origin, including but not limited to, threats of poor evaluation (that directly
impact her income and professional opportunities). Defendant had actual
knowledge of the harm to which it was thereby exposing Plaintiff based on
Plaintiff's repeated written and verbal complaints to her supervisors and Human
Resources officials at the District, as well as Plaintiff's filing of a formal
complaint with the EEOC (which was provided to the District).
   54. As a direct and proximate result of Defendant's breach of duty to
supervise, Plaintiff has been injured and has incurred damages thereby.
   PRAYER FOR RELIEF
   WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and
against Defendant, containing the following relief:
 Case 1:18-cv-01581-RPM Document 1 Filed 06/25/18 USDC Colorado Page 8 of 9




   A. A declaratory judgment that the actions, conduct and practices of
Defendant complained of herein violate the laws of the United States and the
State of Colorado;
   B. An injunction and order permanently restraining Defendant from engaging in
such unlawful conduct;
   C. An order directing Defendant to place Plaintiff in the position she would
have occupied but for Defendant's discriminatory and harassing treatment and
otherwise unlawful conduct, as well as to take such affirmative action as is
necessary to ensure that the effects of these unlawful employment practices are
eliminated and do not continue to affect her employment and personal life;
   D. An award of damages in an amount to be determined at trial, plus
prejudgment interest, to compensate Plaintiff for all monetary and/or economic
harm;
   E. An award of damages in an amount to be determined at trial, plus
prejudgment interest, to compensate Plaintiff for harm to her professional and
personal reputations and loss of career fulfillment;
   F. An award of damages in an amount to be determined at trial, plus
prejudgment interest, to compensate Plaintiff for all non-monetary and/or
compensatory harm, including but not limited to, compensation for her mental
anguish, humiliation, embarrassment, stress and anxiety, emotional pain and
suffering and emotional distress;
   G. An award of damages for any and all other monetary and/or non-monetary
losses suffered by Plaintiff in an amount to be determined at trial, plus
prejudgment interest;
    H. An award of costs that Plaintiff has incurred in this action, as well as
Plaintiff's reasonable attorneys' fees to the fullest extent permitted by law;
and
   I. Such other and further relief as the Court may deem just and proper.
   JURY DEMAND

Plaintiff hereby demands a trial by jury on all issues of fact and damages
stated herein.

Dated: June 1, 2018

Respectfully submitted,

MORTON LAW OFFICE, P.A.
By: _______________________________
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Denver, CO 80222
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COUNSEL FOR PLAINTIFF
Case 1:18-cv-01581-RPM Document 1 Filed 06/25/18 USDC Colorado Page 9 of 9




PLAINTIFF SIGNATURE
I declare under penalty of perjury that I am the plaintiff in this action,
that I have read this complaint, and that the information in this complaint
is true and correct. See 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to
the best of my knowledge, information, and belief that this complaint: (1) is
not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is
supported by existing law or by a non-frivolous argument for extending or
modifying existing law; (3) the factual contentions have evidentiary support
or, if specifically so identified, will likely have evidentiary support after
a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.




/s/Tarishawn Morton (on behalf of Vicki Landis)
(Plaintiff’s signature)

_06/18/2018__________________________________
(Date)



(Revised December 2017)
